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                           THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                           IN ADMIRALTY


 IN THE MATTER OF:

 THE COMPLAINT OF MAB120, LLC, AS OWNERS
 OF THE M/Y ANDIAMO, 2006 120 FOOT
 BENETTI YACHT (ON: 71133)
 IN A CAUSE OF EXONERATION FROM OR
 LIMITATION OF LIABILITY,

         Petitioners.

 _______________________________________/

      COMPLAINT FOR EXONERATION FROM OR LIMITATION OF LIABILITY

         Petitioner, MAB120, LLC (“Petitioner”), as owners, of the M/Y ANDIAMO, a 120 Foot

 Benetti Yacht, ON: 71133 (the “Vessel”), pursuant to the Shipowner’s Limitation of Liability

 Act 46 U.S.C. § 30501, et seq. and Supplement Rule F of the Federal Rules of Civil Procedure,

 files this Complaint for Exoneration from or Limitation of Liability and allege as follows:

         1.      This Complaint sets forth an admiralty and maritime claim within the meaning of

 Supplemental Rule 9(h) and Local Admiralty Rule A.

         2.      Jurisdiction is proper pursuant to 28 U.S.C. § 1333 and 46 U.S.C § 30501, et seq.

         3.      At all material times, the Vessel was owned by Petitioner, resident of New Castle,

 Delaware.

         4.      Venue is proper pursuant to Supplemental Rule F(9) because the Vessel is located

 within this district and is thus within this Court’s jurisdiction.

         5.      The Incident involving the Vessel occurred on December 18, 2019, in navigable

 waters (the “Incident”).
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        6.       The Incident allegedly involved a fire on the Vessel, the origination of which is

 unknown.

        7.       At all material times, the Vessel was seaworthy, properly and efficiently manned,

 supplied, equipped, and furnished; and well and sufficiently fitted and supplied with suitable

 machinery, tackle, apparel and appliances, all in good order and condition and suitable for the

 use for which it was engaged.

        8.       The Incident and any ensuing property loss, damages, personal injury and/or

 casualty were not caused by Petitioner, or any person for whose actions Petitioner is responsible.

 Neither Petitioner nor the Vessel are liable to any extent, and Petitioner is entitled to exoneration

 from liability from all losses, damages, and injury, occasioned and incurred by or as a result of

 the Incident.

        9.       Alternatively, and without admitting liability, Petitioner alleges that in the event it

 or the Vessel should be held at fault to any parties by reason of the Incident set forth above,

 Petitioner claims such fault was occasioned and occurred without the privity or knowledge of

 Petitioner or any of its members, managers, directors, officers, stockholders, or any persons

 whose actions Petitioner is responsible, at or before the Incident.

        10.      At the time of the Incident, the value of the Vessel was $0.00. There was no

 pending freight. See Declaration of Value attached as “Exhibit A.”

        11.      Subject to an express reservation of rights, Petitioner files contemporaneously

 herewith an Ad Interim Stipulation for Costs and Value in the appropriate form, offering

 stipulation of the Vessel’s value in the amount of $0.00.




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        12.     Should the Court require it, Petitioner is prepared to give bond or stipulation for

 any amount as may be ascertained and determined to be necessary under orders of this Court,

 and as provided by the laws of the United States and Federal Rules of Civil Procedure.

        13.     This Complaint is filed within six (6) months of Petitioner’s receipt of first

 written notice of a possible claim against it, arising from the subject Incident and subject to

 exoneration from or limitation of liability.

    WHEREFORE, Petitioner respectfully requests:

    a. Upon filing the Ad Interim Stipulation for Costs and Value herein described, this Court

        issue a notice to all persons, firms or corporations asserting claims for any and all losses,

        damages, injuries or destruction with respect to which Petitioner seeks exoneration from

        or limitation of liability admonishing them to file their respective claims with the Clerk of

        this Court and to serve on Petitioner’s attorneys a copy thereof, on or before the date

        specified in the notice;

    b. Upon filing the Ad Interim Stipulation for Costs and Value herein described, this Court

        issue an injunction, per Supplemental Rule F(3), restraining the commencement or

        prosecution of any action or proceeding of any kind against Petitioner, its underwriters,

        or any of its property with respect to any claim for which Petitioner seeks limitation,

        including any claim arising out of or connected with any loss, damage, injuries or

        destruction resulting from the Incident described in the Complaint;

    c. If any claimant who filed a claim shall also file an exception contesting the value of the

        Vessel or its pending freight, if any, as alleged herein, and the amount of the Ad Interim

        Stipulation for Costs and Value, this Court shall order an appraisement of the value of the

        Vessel following the loss, the value of Petitioner’s interest therein and pending freight, if



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       any, per Local Admiralty Rule F(3), and enter an Order for the filing of an amended

       stipulation for the aggregate value, as so determined, if any;

    d. This Court adjudge Petitioner and the Vessel, and its owners, masters, crew, employees,

       and agents, not liable whatsoever for any losses, damages, injuries or destruction, or for

       any claim whatsoever done, occasioned or incurred as the result of the Incident; or, in the

       alternative, if the Court should adjudge that Petitioner is liable in any amount whatsoever,

       that said liability may be limited to the value of Petitioner’s interest in the Vessel, and

       may be derived pro rata among such claimants; and that a judgment be entered

       discharging Petitioner and the Vessel of and from any and all further liability and forever

       enjoining and prohibiting the filing or prosecution of any claims against Petitioner or its

       property as a result of or in connection with the Incident; and

    e. This Court grants Petitioner such other and further relief that justice may require.




                                                     Respectfully submitted,
                                                     /s/ Jules V. Massee
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